Case 2:11-cr-00315-CCC           Document 65     Filed 06/10/14      Page 1 of 13 PageID: 1017

FOR PUBLICATION



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


                                                    :
  UNITED STATES OF AMERICA,                         :
                                                    :
                                                    :      OPINION
                          v.                        :
                                                    :      No. 2:11-cr-00315 (WHW)
  MITCHELL KURLANDER and ALAN                       :
  ABESHAUS,                                         :
                                                    :
                                  Defendants.       :
                                                    :
                                                    :
                                                    :

Walls, Senior District Judge

       Gerry and Patricia Dale (“Relators”) move to intervene in the above-captioned criminal

matter against defendants Mitchell Kurlander (“Kurlander”) and Alan Abeshaus (“Abeshaus”)

(collectively, “Defendants”) under the False Claims Act (“FCA”), 31 U.S.C. § 3730(c)(5), for the

purpose of obtaining a relator’s share of the criminal fines, restitution and/or forfeiture paid by

Defendants. Defendants and the Government oppose. Relators’ motion is denied.

                        FACTUAL AND PROCEDURAL BACKGROUND

        The following pertinent facts are taken from the parties’ briefs, Relator’s Fourth Amended

Complaint (“FAC”), United States ex rel. Dale, et al. v. Abeshaus, et al., No. 06-cv-04747 (JKG)

(E.D. Pa.), ECF No. 90, and the criminal indictment (the “Indictment”) in United States v.

Kurlander, et al., No. 11-cr-00315 (WHW) (D.N.J.), ECF No. 1, to which Defendants have pled

guilty as to Count I.

       Defendant Kurlander served as the Chief Financial Officer (“CFO”) of Circle Systems

Group, Inc. (“Circle”), a privately owned Pennsylvania corporation engaged in the business of
Case 2:11-cr-00315-CCC         Document 65       Filed 06/10/14      Page 2 of 13 PageID: 1018

FOR PUBLICATION

selling and reconditioning athletic equipment, uniforms, and apparel. Indictment ¶ 1. From about

2003 until the company was sold in September 2005, Kurlander was also part owner of Circle. Id.

As CFO, Kurlander was responsible for overseeing and managing Circle’s accounts payables,

accounts receivables, billing and the submission of bids and quotes to Circle’s customers. Id.

Defendant Abeshaus served as the de facto Chief Executive Officer (“CEO”) of Circle and was

the largest single shareholder of Circle until it was sold. Id. ¶ 2. As de facto CEO, Abeshaus was

responsible for setting the policies and framework for Circle’s operations, and he was always kept

abreast of company developments by Circle’s employees, including Kurlander (who is also his

son-in-law). Id. About September 2005, Circle was acquired by Schutt Holdings, Inc. Id. ¶ 3.

       Although Circle’s products and reconditioning services were marketed nationally (and

internationally—to schools funded and run by the Department of Defense Education Activity, see

FAC ¶¶ 23-26), a large portion of its sales of athletic equipment and reconditioning services were

to middle and high schools, colleges, and youth sports programs in New Jersey. Indictment ¶ 5.

From at least August 1997 to June 2007, “in the District of New Jersey and elsewhere,” Defendants

“knowingly and intentionally combined, conspired, confederated and agreed to devise a scheme

and artifice to defraud, and to obtain money and property from the [schools with which they did

business] by means of materially false and fraudulent pretenses, representations, and promises,”

and for the purpose of executing that scheme and artifice, they “did use the United States mails,

private and commercial interstate carriers, and interstate wire communications, contrary to Title

18, United States Code, Section 1341 (mail fraud) and Section 1343 (wire fraud).” Id. ¶ 8. The

object of the conspiracy was to obtain money and other things of value from the schools for Circle

by means of a number of fraudulent business practices, which included, but were not limited to,

the following: (a) retaining, and converting to Circle’s own use, duplicate payments by the schools



                                                2
Case 2:11-cr-00315-CCC          Document 65        Filed 06/10/14       Page 3 of 13 PageID: 1019

FOR PUBLICATION

that should have been returned or credited to the schools; (b) submitting fake quotes to school

athletic officials so that their purchases from Circle would seemingly comply with applicable law,

regulations, and policies; and (c) submitting fraudulent invoices to the schools in order to: (i)

recoup money that Circle had expended for donations to the schools and the school athletic

officials; (ii) pay for personal gifts given to the school athletic officials; (iii) ensure that Circle

achieved its desired profits on goods and services that had been intentionally “underpriced;” and

(iv) hide the nature and timing of purchases by the school athletic officials when requested to do

so by those school athletic officials. Id. ¶ 9; see also id. ¶¶ 10-46 (Means and Methods of the

Conspiracy).

       Relators brought the corresponding civil matter, United States ex rel. Dale, et al. v.

Abeshaus, et al., No. 06-cv-04747 (JKG) (E.D. Pa.). Beginning November 19, 1993, Gerry Dale

was employed by Circle as a sports production manager. Mot. to Dismiss Op. at 14, E.D. Pa. No.

06-cv-04747 (ECF No. 106).1 Relators filed a civil qui tam action in the Eastern District of

Pennsylvania under the federal FCA on October 20, 2006, alleging that Defendants were engaged

in fraudulent activities. See FAC ¶ 26 n.5. The case was placed in civil suspense by the Clerk of

the Court and remained under seal until 2009, during which time Relators filed a second amended

complaint. See Mot. to Dismiss Op. at 5, E.D. Pa. No. 06-cv-04747. On September 3, 2009, the

United States notified Relators and the court that it was declining to intervene in that action. See

Notice to Decline Intervention, E.D. Pa. No. 06-cv-04747 (ECF No. 17). On September 22, 2009,

Relators filed their third amended complaint under seal. See Third Am. Compl., E.D. Pa. No. 06-

cv-04747 (ECF No. 41). After various proceedings in the Eastern District of Pennsylvania, see



1
  Patricia Dale also appears to have been employed by Circle (or one of the Schutt corporate
entities) as an administrative assistant, though there is no discussion of that in the FAC. See Mot.
to Dismiss Op. at 14 n.19, E.D. Pa. No. 06-cv-04747.
                                                  3
Case 2:11-cr-00315-CCC         Document 65       Filed 06/10/14      Page 4 of 13 PageID: 1020

FOR PUBLICATION

Mot. to Dismiss Op. at 5-7, E.D. Pa. No. 06-cv-04747, Relators filed their FAC on August 15,

2012, which alleges claims against Abeshaus and Kurlander, along with Eric Abeshaus and David

Drill (the President of Circle during the relevant time period). Count I of the FAC asserts a claim

under the FCA. Counts II through IX assert state-law claims for violations of the false claims acts

of various states.

        Defendants had ceased directing the operations of Circle (then owned by Schutt Holdings,

Inc.) in October 2008, and on December 22, 2008, David Drill was charged by a one count

information in the District of New Jersey with conspiracy and defrauding the United States’

government in violation of 18 U.S.C. § 371. Mot. to Dismiss Op. at 23-24, E.D. Pa. No. 06-cv-

04747. On May 10, 2011, Defendants Kurlander and Abeshaus were charged by a twenty-two

count indictment in this Court with violations of 18 U.S.C. §§ 981(a)(1)(c), 1341, 1343, 1349 and

2, as well as violations of 28 U.S.C. § 2461. See Indictment.

        The charges against Kurlander and Abeshaus in the information and Indictment arose from

the same underlying conduct that formed the basis of the FAC. See Mot. to Dismiss Op. at 24, E.D.

Pa. No. 06-cv-04747.2

        On March 22, 2013, Defendants both entered into plea agreements with the U.S. Attorney’s

Office in which they agreed to plead guilty to Count I of the Indictment in exchange for the

Government’s agreement not to initiate any further charges against them. See Plea Agreements

(ECF Nos. 53, 56). As part of Abeshaus’s plea agreement, he agreed to pay restitution in the

amount of $1,000,000. See Abeshaus Plea Agreement at 2 (ECF No. 56). In addition, Abeshaus

agreed that, as part of his acceptance of responsibility and under 18 U.S.C. § 981(a)(1)(C) and 28



2
 The Court assumes for the purposes of this opinion that it was the information provided by
Relators in their various complaints that notified the Government as to the fraud being committed
by Defendants. None of the parties nor the Government has ever disputed this.
                                                4
Case 2:11-cr-00315-CCC         Document 65      Filed 06/10/14      Page 5 of 13 PageID: 1021

FOR PUBLICATION

U.S.C. § 2461, he would consent to the entry of a forfeiture money judgment in the amount of

$500,000. Id. Kurlander’s plea agreement did not contain a forfeiture provision and, although it

provided for the payment of restitution, it did not specify any amount. See Kurlander Plea

Agreement at 2 (ECF No. 53). On April 2, 2013, this Court accepted Defendants’ guilty pleas to

Count I of the Indictment. ECF Nos. 51, 54. Defendants are awaiting sentencing.

       On March 14, 2014, Relators filed their motion for intervention and disbursement of

alternate remedy funds in the criminal action before this Court. ECF No. 59. Defendants filed a

brief in opposition to that motion on April 7, 2014. ECF No. 61. The Government filed a brief in

opposition on May 27, 2014. ECF No. 63. Relators filed a reply to the Government’s opposition

on June 3, 2014. ECF No. 64.

                                    LEGAL STANDARD

        The FCA, 31 U.S.C. §§ 3729-3733, is an anti-fraud statute that imposes liability against

any person who “knowingly makes, uses, or causes to be made or used, a false record or statement

to get a false or fraudulent claim paid or approved by the government.” Id. § 3729(a)(2). Persons

who violate the FCA are liable for civil penalties and treble damages, plus the costs incurred in

bringing an FCA lawsuit. Id. § 3729(a). To enhance enforcement, the FCA permits private persons

known as “relators” to bring qui tam actions on behalf of the Government. A qui tam suit is filed

in camera, and remains under seal for sixty days. Id. § 3730(b)(2). The qui tam complaint will

remain under seal for longer than sixty days when the Government shows good cause to do so. Id.

§ 3730(b)(3). The relator must present all material evidence to the Government, and the

Government must then choose to intervene and proceed with the qui tam action or to decline

intervention. Id. §3730(b)(4). If the suit is successful, the relator receives a portion of the

Government’s recovery. Id. § 3730(d). If the Government “proceeds with the action,” the relator



                                               5
Case 2:11-cr-00315-CCC          Document 65        Filed 06/10/14      Page 6 of 13 PageID: 1022

FOR PUBLICATION

will receive between 15 and 25 percent of the Government’s recovery, “depending upon the extent

to which the person substantially contributed to the prosecution of the action,” plus reasonable

expenses. Id. §3730(d)(1). If the relator proceeds on her own, she will receive between 25 and 30

percent of the proceeds, plus reasonable expenses. Id.

        In addition, the United States “may elect to pursue its claim through any alternate remedy

available to the [United States].” Id. § 3730(c)(5). If the United States pursues an alternate remedy,

the relator “shall have the same rights in such proceeding as such person would have had if the

action had continued under this section.” Id. “Any finding of fact or conclusion of law made in

such other proceeding that has become final shall be conclusive on all parties to an action under

this section.” Id.

                                           DISCUSSION

        The central issue before this Court is one of first impression in this District and Circuit:

whether a relator in a qui tam action is entitled to a relator’s share when the United States has

declined to intervene in the qui tam action but has pursued criminal prosecution against the

defendant and as a result has the ability to recover a portion of the defendant’s available assets

through criminal forfeiture proceedings and/or the payment of restitution. The Court holds that the

relator is not entitled to intervene in a criminal proceeding under such circumstances.

        Relators argue that the United States pursued its claim against Defendants through an

alternate remedy: prosecuting Defendants and making significant recoveries through criminal

forfeiture and restitution. Defendants and the Government argue, inter alia, that a criminal

prosecution resulting in criminal forfeiture and/or restitution payments cannot be considered an

alternate remedy under § 3730(c)(5).




                                                  6
Case 2:11-cr-00315-CCC           Document 65        Filed 06/10/14       Page 7 of 13 PageID: 1023

FOR PUBLICATION

        Relators support their position that a criminal prosecution is an alternate remedy by

pointing out that the Sixth Circuit defined “alternate remedy” as “the government’s pursuit of any

alternative to intervening in a realtor’s qui tam action,” United States ex rel. Bledsoe v. Community

Health Sys., Inc., 342 F.3d 634, 647 (6th Cir. 2003), and was “persuaded that the plain language

of § 3730(c)(5) makes clear that a relator’s participation rights are preserved when the government

pursues the relator’s claims through any means alternative to intervening in the qui tam action,”

id.

        Relators also support their position by pointing to the legislative history of the FCA, which

lists criminal prosecutions as one example of an alternate remedy. See H. Rep. 660, 99th Cong.,

2d Sess. 2 (June 26, 1986) (House Judiciary Committee Report) (“The section further provides

that, notwithstanding the filing of a qui tam action, the Government may pursue its claim through

alternate remedies available to it, such as a criminal prosecution . . . .”).

        And Relators contend that the legislative policy underlying the FCA provides additional

support for their position because, as the Ninth Circuit has stated:

        The FCA is designed to help fight fraud against the government by encouraging
        private individuals to come forward with information about fraud that might
        otherwise remain hidden. The encouragement is provided by giving these
        individuals a relator’s share of any recovery obtained using the relator’s
        information in an FCA action, or an equivalent share of a recovery obtained using
        that same information to procure an ‘alternate remedy.’

United States ex rel. Barajas v. Northrop Corp., 258 F.3d 1004, 1012 (9th Cir. 2001). Relators

argue that allowing the Government to avoid sharing the proceeds of its fraud recoveries, obtained

from qui tam defendants through criminal prosecutions, “would not further Congress’ legislative

intent that the government and private citizens collaborate in battling fraudulent claims, and it

would impede, not further, Congress’ legislative intent to encourage private citizens to file qui tam

suits.” Bledsoe, 342 F.3d at 649. Relators assert that given the general purpose and structure of the


                                                   7
Case 2:11-cr-00315-CCC          Document 65        Filed 06/10/14        Page 8 of 13 PageID: 1024

FOR PUBLICATION

FCA, this Court should find that criminal prosecutions are an alternate remedy under the statute.

See S.E.C. v. C.M. Joiner Leasing Corp., 320 U.S. 344, 350-51 (1943) (“[C]ourts will construe the

details of an act in conformity with its dominating general purpose, will read text in the light of

context and will interpret the text so far as the meaning of the words fairly permits so as to carry

out in particular cases the generally expressed legislative policy.”).

       To support this legislative policy argument, Relators heavily rely upon an unpublished

2005 decision from the Southern District of Indiana, United States v. Bisig, Crim No. 02-112, 2005

WL 3532554 (S.D. Ind. Dec. 21, 2005). In Bisig, Home Pharm, a Kentucky corporation registered

with Indiana Medicaid as a pharmacy provider, supplied Indiana Medicaid recipients with in-home

pharmaceutical products. Id. at *1. Peggy and Philip Bisig owned and operated Home Pharm, and

from 1996 to 2000, Home Pharm engaged in a number of fraudulent practices victimizing the

Indiana Medicaid Program, among others. Id. The relator in that matter, Health Care Fraud

Detection Systems, Inc. (“FDSI”) investigated Home Pharm and filed a qui tam action under the

civil FCA. Id. After FDSI’s qui tam filing, the United States soon joined FDSI’s investigation of

Home Pharm and Ms. Bisig. Id. The United States declined to intervene in FDSI’s qui tam action,

and an indictment was returned against Home Pharm and Ms. Bisig. Id. Eventually Ms. Bisig pled

guilty in the criminal action, and as part of her plea agreement she agreed to forfeit various pieces

of real and personal property that were acquired by her personally during her fraud scheme, as well

as the assets of Home Pharm. Id. at *2. FDSI filed a motion to intervene and to stay disbursement

of defendant’s assets in the criminal action. Id. The court granted that motion to intervene, holding

that a qui tam relator had the right to intervene in the forfeiture portion of a criminal prosecution

as an alternate remedy proceeding under § 3730(c)(5) in order to obtain a relator’s share percentage

of forfeiture proceeds. Id. at *4-6. The court reasoned that the FCA must be interpreted in a manner



                                                  8
Case 2:11-cr-00315-CCC            Document 65      Filed 06/10/14      Page 9 of 13 PageID: 1025

FOR PUBLICATION

that will maintain the incentive underlying the qui tam aspect of the FCA, and that the only way

to do that was to find that the United States elected to pursue its claim through an “alternate

remedy” under § 3730(c)(5) when it criminally prosecuted defendants. Id. The court found this

interpretation “especially appropriate” where the United States declined to intervene in the qui tam

action in order to pursue criminal prosecution against the defendant and recover the defendant’s

assets through forfeiture proceedings. Id. at *4. The Court asserted that “[s]imply stated, the United

States cannot sidestep the requirement to share recovery with the relator[s], who contend[ ] that

[they] first discovered the fraud and informed the United States regarding the fraud, by merely

electing to recover through criminal forfeiture proceedings.” 2005 WL 3532554, at *4. Relators

argue that the result should be the same in this case.

       Defendants and the Government argue, on the other hand, that a criminal prosecution is not

an “alternate remedy” under the statute. They say that the plain text of § 3730(c)(5) does not

support the notion that a criminal proceeding constitutes an alternate remedy because whereas

§ 3730(c)(5) expressly provides that any alternate remedy may “include any administrative

proceeding to determine a civil money penalty,” it makes no mention of criminal proceedings.

       As to Relators’ argument that the legislative history of the FCA amendments supports their

position, Defendants contend that the fact that Congress at one time contemplated including

criminal prosecutions as an alternate remedy under the statute does not vitiate its subsequent

decision not to include such language in the final alternate remedy provision. To the contrary,

Defendants claim, such exclusion evinces a congressional intent that a criminal prosecution not

qualify as an alternate remedy.

       Regarding the legislative policy and purpose underlying the FCA, Defendants and the

Government state that if this Court endorsed the notion that criminal proceedings qualify as an



                                                  9
Case 2:11-cr-00315-CCC          Document 65         Filed 06/10/14      Page 10 of 13 PageID: 1026

 FOR PUBLICATION

 alternate remedy, this Court would be implicitly holding that qui tam relators have rights in those

 criminal proceedings, which would be incorrect since third parties generally have no right to

 intervene in criminal proceedings. See Defs.’ Br. in Opp’n to Mot. for Intervention at 7-8 (ECF

 No. 61). They also assert that Bisig was wrongly decided and, as it is not binding on this Court,

 should be ignored.

        Defendants and the Government also argue that even if this Court were to determine that a

 criminal proceeding may qualify as an alternate remedy under § 3730(c)(5), this particular criminal

 proceeding cannot qualify as such a remedy under its facts. Defendants and the Government assert

 that in this criminal proceeding, the Indictment charged Defendants with, and they pleaded guilty

 to, one count of conspiracy to commit mail and wire fraud arising out of a scheme to obtain money

 from schools in New Jersey, and that there was never an allegation in this criminal action that

 Defendants violated the federal FCA. According to Defendants and the Government, the restitution

 and forfeiture amounts in Defendants’ plea agreements represent and are associated with only false

 claims paid by the state of New Jersey. As a result, Defendants and the Government contend that

 Relators are not entitled to share in any recovery obtained by the Government in this case because

 their federal FCA claims do not concern schools in New Jersey. See id. at 6-7.

        Finally, Defendants and the Government argue that Relators are statutorily barred from

 intervening in this case for the purpose of claiming an interest in the forfeited property because an

 ancillary proceeding held after the Court’s entry of a preliminary order of forfeiture is the only

 avenue for Relators to assert their interests in property subject to forfeiture. See 21 U.S.C. § 853(n)

 (2006); Fed. R. Crim. P. 32.2(b)(2)(A).




                                                   10
Case 2:11-cr-00315-CCC         Document 65        Filed 06/10/14      Page 11 of 13 PageID: 1027

 FOR PUBLICATION

        This Court agrees with Defendants and the Government that under the facts of this case a

 criminal proceeding may not qualify as an alternate remedy under § 3730(c)(5). As such, Relators’

 motion is denied.

        As an initial matter, this Court finds that intervention by civil litigants in these criminal

 proceedings is inappropriate because no private party has a judicially cognizable interest in a

 criminal prosecution. It is well established that “a private citizen lacks a judicially cognizable

 interest in the prosecution or non-prosecution of another.” Linda R.S. v. Richard D. and Texas,

 410 U.S. 614, 619 (1973). The Supreme Court has made clear that “a citizen lacks standing to

 contest the policies of the prosecuting authority when he himself is neither prosecuted nor

 threatened with prosecution” and that criminal prosecutions have “special status” in our legal

 system. Id. There is no authority that would allow Relators to intervene in these criminal

 proceedings.

        Specifically with regard to the forfeiture aspects of the criminal prosecution—as Relators

 argue they only seek to intervene in the forfeiture proceeding for the sole purpose of obtaining a

 relator’s share of the criminal fines, restitution and/or forfeiture paid by Defendants—21 U.S.C.

 § 853, as incorporated by 18 U.S.C. § 982(b), explicitly prohibits intervention. Section 853(k)

 provides:

        (k) Bar on intervention

        Except as provided in subsection (n) of this section, no party claiming an interest
        in property subject to forfeiture under this section may—

        (1) intervene in a trial or appeal of a criminal case involving the forfeiture of such
            property under this section; or
        (2) commence an action at law or equity against the United States concerning the
            validity of his alleged interest in the property subsequent to the filing of an
            indictment or information alleging that the property is subject to forfeiture
            under this section.



                                                 11
Case 2:11-cr-00315-CCC          Document 65         Filed 06/10/14     Page 12 of 13 PageID: 1028

 FOR PUBLICATION

 21 U.S.C. § 853(k). And 21 U.S.C. § 853(n) sets forth that an ancillary proceeding held after the

 Court’s entry of a preliminary order of forfeiture is the only avenue for individuals to assert their

 interests in property subject to forfeiture. These provisions specifically bar the remedy sought by

 Relators here.

        Furthermore, Relators argument that they are entitled to intervene in this criminal action

 because the criminal prosecution of the Defendants is an “alternate remedy” under § 3730(c)(5) of

 the civil FCA is unpersuasive. Section 3730(c)(5) provides:

        Notwithstanding subsection (b), the Government may elect to pursue its claim
        through any alternate remedy available to the Government, including any
        administrative proceeding to determine a civil money penalty. If any such alternate
        remedy is pursued in another proceeding, the person initiating the action shall have
        the same rights in such proceeding as such person would have had if the action had
        continued under this section. Any finding of fact or conclusion of law in such other
        proceeding that has become final shall be conclusive on all parties to an action
        under this section.

 31 U.S.C. § 3730(c)(5). Section 3730(b)(1) limits a relator’s options to bringing “a civil action for

 the violation of section 3729 for the person and for the United States Government.” 31 U.S.C.

 § 3730(b)(1). There is nothing in section 3730 that allows a relator to bring or otherwise participate

 in a criminal prosecution. And the history of the separation between civil and criminal proceedings

 in this nation’s legal system is such that had Congress intended otherwise in enacting the civil

 FCA, it would have said so. See United States v. Lustman, Crim. No. 05-40082, 2006 WL 1207145,

 at *3 (S.D. Ill. May 4, 2006) (“The purpose of a criminal prosecution is simply to determine

 whether the United States can sustain its burden of proof and, if necessary, determine an

 appropriate sentence for the defendant. This is the gravest and most consequential business of the

 Court. Surely Congress would have explicitly specified criminal prosecutions as an ‘alternate

 remedy’ if it intended the result urged here.”).




                                                    12
Case 2:11-cr-00315-CCC          Document 65        Filed 06/10/14      Page 13 of 13 PageID: 1029

 FOR PUBLICATION

        It is important to note that Relators are not left without a remedy. They are free to pursue

 their civil qui tam action, which remains pending in the Eastern District of Pennsylvania.

        Finally, Relators have not made any showing that the criminal pleas entered in this action

 actually implicate any federal dollars or monies recoverable under their FCA action. The criminal

 conduct and restitution related to this criminal action are not associated with any false claims paid

 by the United States, but rather only relate to a scheme to obtain money from the New Jersey

 schools. This federal criminal action, therefore, cannot be considered an “alternate remedy”

 because it does not purport to recover anything that would be recoverable in the qui tam action.

 See United States ex rel. Hefner v. Hackensack Univ. Med. Ctr., Civ. No. 01-4078 (DMC), 2006

 WL 776795, at *2 (D.N.J. Mar. 24, 2006) (rejecting a relator’s claim for an alternate remedy

 because the relator failed to establish a violation of the FCA, recognizing as the first element of a

 prima facie case under the FCA that “the relator must prove: (1) the defendant presented or caused

 to be presented to an agent of the United States a claim for payment”).

                                          CONCLUSION

        Relators’ motion to intervene is denied. An appropriate order follows.



 Date: June 10, 2014



                                                               /s/ William H. Walls
                                                               United States Senior District Judge




                                                  13
